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1    Vivek Jayaram (Pro Hac Vice)
     vivek@jayaramlaw.com
2    Elizabeth Austermuehle (Pro Hac Vice)
     liz@jayaramlaw.com
3    JAYARAM LAW, INC.
     125 S. Clark Street, Suite 1175
4    Chicago, IL 60603
5    Christian Anstett (SBN 240179)
     Anstett.law@gmail.com
6    A Eric Bjorgum (SBN 198392)
     eric.bjorgum@kb-ip.com
7    KARISH & BJORGUM PC
     119 E. Union Street, Suite B
8    Pasadena, CA 91103
     Telephone: (213) 785-8070
9
     Attorneys for Defendant Deejayzoo, LLC
10
11                      UNITED STATES DISTRICT COURT

12                     CENTRAL DISTRICT OF CALIFORNIA
13                               WESTERN DIVISION
14
15    Kitsch LLC, a California                Case No. 2:19-cv-02556-JAK-RAO
16    company,
                                              ORDER GRANTING DEEJAYZOO,
17                                            LLC’S APPLICATION TO FILE
18              Plaintiff/Counter-            CONFIDENTIAL DOCUMENTS IN
                Defendant,                    OPPOSITION TO KITSCH, LLC’S
19    v.                                      MOTION FOR SUMMARY
20                                            JUDGMENT OF NON-
                                              INFRINGEMENT AND DAUBERT
21    DEEJAYZOO, LLC, a New                   MOTION TO EXCLUDE EXPERT
22    York company,                           REPORT OF FERNANDO TORRES
                                              UNDER SEAL
23              Defendant/Counter-
24              Plaintiff.
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1          Based on a review of Defendant’s Application to File Confidential Documents

2    in Opposition to Kitsch, LLC’s Motion for Summary Judgment of Non-Infringement

3    and Daubert Motion to Exclude the Expert report of Fernando Torres Under Seal

4    (“Application” (Dkt. 137), it has been determined that there is sufficient good cause

5    for some of the requested relief. Therefore,

6          It is hereby ordered that the Application is GRANTED and the following

7    documents are to be filed under seal:

8          1.     Exhibit 3 to the February 24, 2021 Declaration of Vivek Jayaram in

9    Support of Deejayzoo’s Memorandum in Opposition to Kitsch, LLC’s Motion for

10   Partial Summary Judgment;

11         2.     Deejayzoo’s Memorandum in Opposition to Kitsch, LLC’s Motion for

12   Summary Judgment of Non-Infringement;

13         3.     Deejayzoo’s Statement of Genuine Disputes of Material Facts in

14   Opposition to Kitsch, LLC’s Motion for Summary Judgment of Non-Infringement;

15   and

16         4.     Deejayzoo’s Memorandum in Opposition to Kitsch, LLC’s Daubert
17   Motion to Exclude the Expert Report of Fernando Torres.
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19   IT IS SO ORDERED.
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21
22   DATED: September 21, 2021                      _____________________________
23                                                  John A. Kronstadt
                                                    United States District Judge
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